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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT
OF NEW YORK

HUMANE CONSUMER LLC, Civil Action No.

18-cv-5622 (PKC)
Plaintiff,
RULE 7.1
STATEMENT
-against-

COB ECOMMERCE EMPIRE LLC d\b\a

Keeva Organics, CRAWFORD AND

O’BRIEN LLC, CHARLES CRAWFORD,

MICHAEL O’BRIEN and AMAZON COM, INC.,

Defendants.

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Pursuant’ to Federal Rule of Civil Procedure 7.1 (formerly Local General Rule
1.9), and to enable District Judges and Magistrate Judges of the Court to evaluate
possible disqualification or recusal, the undersigned counsel for Humane Consumer LLC
(a private non-governmental party) certifies that the following are corporate parents,

affiliates and/or subsidiaries of said party, which are publicly held:
NONE

Dated: New York, NY
June 26, 2018

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